        Case 4:18-cv-02246 Document 23 Filed in TXSD on 07/23/18 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 VANTAGE DEEPWATER COMPANY
 and VANTAGE DEEPWATER
 DRILLING, INC.,

                           Petitioners,               CIVIL ACTION NO. 18-cv-2246

 v.

 PETROBRAS AMERICA INC.,                              JOINT MOTION TO
 PETROBRAS VENEZUELA                                  SET DEADLINES TO RESPOND
 INVESTMENTS & SERVICES, BV,
 and PETRÓLEO BRASILEIRO S.A. –
 PETROBRAS,

                           Respondents.



          Petitioners and Respondents (“Parties”) jointly file this Motion to Set Deadlines to

Respond.

          The Parties respectfully request that the Court set August 31, 2018 as Respondents’

deadline to:

                1. Answer or otherwise respond to the Petition (Dkt. 1);

                2. Respond to Petitioners’ Motion to Obtain Security for Satisfaction of Judgment on
                   Final Award (Dkt. 15);

                3. Respond to Petitioners’ Motion for Hearing and Oral Argument on Motion to
                   Obtain Security for Satisfaction of Judgment on Final Award (Dkt. 17); and

                4. Move to vacate the Final Award.

          Further, the Parties respectfully request that the Court set September 7, 2018 as Petitioners’

deadline to submit any reply in support of:

                1. Petitioners’ Motion to Obtain Security for Satisfaction of Judgment on Final
                   Award (Dkt. 15); and



07214-00001/10288635.1
        Case 4:18-cv-02246 Document 23 Filed in TXSD on 07/23/18 Page 2 of 3



                2. Petitioners’ Motion for Hearing and Oral Argument on Motion to Obtain Security
                   for Satisfaction of Judgment on Final Award (Dkt. 17).

          Last, the Parties respectfully request that the Court set Petitioners’ deadline to respond to

Respondents’ forthcoming motion to vacate the Final Award, and any reply thereafter by

Respondents, to proceed according to deadlines prescribed by applicable rules, unless a further

enlargement of time is sought.

          An agreed proposed Order is attached.

          Dated: July 23, 2018.                        Respectfully submitted,

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07214-00001/10288635.1                             2
        Case 4:18-cv-02246 Document 23 Filed in TXSD on 07/23/18 Page 3 of 3




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 VANTAGE DEEPWATER DRILLING, INC.




                             CERTIFICATE OF SERVICE

       A copy of the foregoing Joint Motion to Set Deadlines to Respond was served on all
counsel of record for the parties via ECF on July 23, 2018.


                                               /s/ Kate Kaufmann Shih
                                               Kate Kaufmann Shih




07214-00001/10288635.1                     3
